       Case 19-16123-pmm                          Doc 41         Filed 10/22/24 Entered 10/22/24 10:29:22                         Desc Main
     Fill in this information to identify the case:              Document Page 1 of 3
 Debtor 1                  William R. Troutman


     Debtor 2              Abigail C. Troutman
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:     Eastern District of Pennsylvania
                                                                                      (State)
     Case Number:          19-16123-PMM




Form 4100N
Notice of Final Cure Payment                                                                                                            10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                                Court claim no. (if known):
 Name of creditor:                   FLAGSTAR BANK                                                              13-1

 Last 4 digits of any number you use to identify the debtor's account                           6   3   9   3

 Property Address:                                238 SHAMROCK DRIVE
                                                  MOUNT JOY, PA 17552-9734




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                              Amount

 a. Allowed prepetition arrearage:                                                                                      (a)   $          -0-

     b. Prepetition arrearage paid by the trustee :                                                                     (b)   $          -0-

 c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):                     (c)   $          -0-

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c) and (d)                $          -0-
        paid by the trustee:
     e. Allowed postpetition arrearage:                                                                                 (e)   $          -0-

 f.       Postpetition arrearage paid by the trustee :                                                                + (f)   $          -0-

 g. Total. Add lines b, d, and f.                                                                                       (g)   $          -0-



 Part 3:             Postpetition Mortgage Payment

 Check one

 ¨ Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                     $
         The next postpetition payment is due on                      /    /
                                                                  MM / DD / YYYY

 ý Mortgage is paid directly by the debtor(s).


Form 4100N                                                          Notice of Final Cure Payment                                         page 1
   Case 19-16123-pmm                 Doc 41    Filed 10/22/24 Entered 10/22/24 10:29:22                              Desc Main
                                               Document Page 2 of 3



Debtor 1     William R. Troutman                                               Case number (if known) 19-16123-PMM
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within
 21 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full
 the amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees,
 costs, and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all
 postpetition payments as of the date of the response. Failure to file and serve the statement may subject the creditor to
 further action of the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              û/s/ Scott F. Waterman
                    Signature
                                                                                 Date     10/22/2024


 Trustee            Scott F. Waterman

 Address            2901 St. Lawrence Avenue, Suite 100
                    Reading, PA 19606



 Contact phone      (610) 779-1313                                Email   info@ReadingCh13.com




Form 4100N                                        Notice of Final Cure Payment                                              page 2
   Case 19-16123-pmm               Doc 41    Filed 10/22/24 Entered 10/22/24 10:29:22                               Desc Main
                                             Document Page 3 of 3



Debtor 1     William R. Troutman                                           Case number (if known) 19-16123-PMM
             Name




History Of Payments
Part 2 -
Claim ID Name                        Creditor Type              Date       Check # Posting Description                    Amount

                                                                                             Total for Part 2 - :           0.00




Form 4100N                                      Notice of Final Cure Payment                                               page 3
